     Case 2:24-cr-00091-ODW      Document 153-3 Filed 11/01/24        Page 1 of 1 Page ID
                                          #:1880



 1                            UNITED STATES DISTRICT COURT
 2                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 3
 4        UNITED STATES OF AMERICA,                       No. CR 2:24-cr-00091-ODW
 5        Plaintiff,
 6        v.                                              [PROPOSED] ORDER
 7        ALEXANDER SMIRNOV,
 8        Defendant.
 9
10
11         Upon Consideration of the Government’s Fourth Motion in Limine to Exclude
12   Alleged Defects in the Institution and Prosecution of this matter, and the Defendant’s
13   Response thereto, the Court grants the Motion and orders that the defendant is precluded
14   from introducing evidence, argument, or questioning at trial that suggests or otherwise
15   implies that the prosecution is politically motivated, that the government is selectively or
16   vindictively prosecuting him, that government agents or prosecutors engaged in
17   outrageous government misconduct, that the prosecution of him is unlawful for any reason,
18   that the prosecution is costly or inappropriately funded, or that the prosecutors or agents
19   are conflicted. These matters are irrelevant under Federal Rule of Evidence 401, are
20   prejudicial under Federal Rule of Evidence 403 even if there was some probative value,
21   and, for the reasons discussed in the Government’s Motion, this Court agrees with other
22   courts that have routinely excluded such matters from being raised before the jury.
23         Dated: ________________                 SO ORDERED
24
25                                                 ____________________________
26                                                 The Honorable Otis D. Wright, III
27                                                 United States District Judge
28
